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                U N I T E D S TAT E S D I S T R I C T C O U R T
             FOR THE SOUTHERN DISTRICT OF TEXAS
                       BROWNSVILLE DIVISION

Global Enterprise Solutions LLC,                            Civil Action No.

                              Plaintiff;

               v.

Vanguard Energy LLC, Maverick
Terminals Brownsville LLC, and
Matthew Klann,

                              Defendants.                      Jury Demand

                            Defendants’ Notice of Removal



        Defendants Vanguard Energy LLC (“Vanguard”) and Matthew Klann

(collectively, “Defendants”) present this Notice of Removal of the suit brought by

Plaintiff Global Enterprise Solutions LLC (“Plaintiff”) from the 404th Judicial District

Court of Cameron County, Texas, where the suit was instituted, to this United States

District Court for the Southern District of Texas, Brownsville Division under 28 U.S.C.

§§ 1332, 1441, and 1446. Expressly reserving all questions other than that of removal,

Defendants respectfully show that removal is proper as follows:

                                     State Court Suit

       On June 1, 2021, Plaintiff filed an action in the 404th Judicial District Court of

Cameron County, Texas, titled “Global Enterprise Solutions LLC v. Vanguard Energy

LLC, Maverick Terminals Brownsville LLC, and Matthew Klann” and bearing Cause No.

2021-DCL-04900 (the “State Court Suit”).




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       Defendants Vanguard Energy LLC and Matthew Klann were made aware of this

suit on June 7, 2021. Exhibit B-1, Affidavit of Matthew Klann at ¶ 5, ¶ 6. Therefore, this

Notice of Removal is timely filed by Defendants. 28 U.S.C. § 1446(b).

       As of the time of filing of this Notice of Removal, Defendant Maverick Terminals

Brownsville LLC has not been served with process.

       The State Court Suit is a civil suit in which Plaintiff claims that Defendants

defrauded and/or breached certain alleged duties to Plaintiff thereby causing it to lose

over $700,000.00. Plaintiff’s Original Petition, Exhibit A-1 at 1-4. Although Plaintiff

sought a temporary restraining order (“TRO”) and an injunction when it first filed its

state court Petition, the parties reached an agreement regarding the injunctive relief

pursuant to Rule 11 and Plaintiff declined to pursue its application for a TRO order by

passing on the hearing. Notice of Filing of Rule 11 Agreement, Exhibit A-4; June 11,

2021, Rule 11 Agreement, Exhibit A-5.

                                 Parties and Citizenship

       Plaintiff is and was a New Jersey Limited Liability Company with its principal

place of business in Texas at all times relevant to this lawsuit, including when the State

Court Suit was filed and removed. Plaintiff’s Original Petition, Exhibit A-1 at 1-2.

       Defendant Vanguard is a Delaware limited liability company. Vanguard’s

principal place of business is in Florida. Plaintiff’s Original Petition, Exhibit A-1 at 1-2;

see also Affidavit of Matthew Klann, Exhibit B-1, at ¶ 7, ¶ 8.

       Defendant Maverick is a Delaware limited liability company. Maverick’s

principal place of business is in Texas. Plaintiff’s Original Petition, Exhibit A-1 at 1-2.




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         Defendant Matthew Klann is an individual who resides in Florida. Plaintiff’s

Original Petition, Exhibit A-1 at 2; see also Affidavit of Matthew Klann, Exhibit B-1, at ¶

9.

                                    Basis for Removal

         Removal is proper because Plaintiff improperly joined Maverick solely to defeat

diversity jurisdiction. See Davidson v. Ga.-Pac., L.L.C., 819 F.3d 758, 765 (5th Cir.

2016). Improper joinder may be established by showing: (1) actual fraud in the pleadings

or (2) the inability of the plaintiff to establish a cause of action against the non-diverse

party in state court. Cumpian v. Alcoa World Alumina LLC, 910 F.3d 216, 219 (5th Cir.

2018). To prove the latter, a removing party must demonstrate that “there is no

reasonable basis for the district court to predict that the plaintiff might be able to

recover against an in-state defendant.” Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568,

573 (5th Cir. 2004) (en banc).

                               Applicable Legal Standard

         Federal courts apply the federal pleading standard under Rule 12(b)(6) to a

plaintiff’s allegations when a defendant removes an action to federal court alleging

improper joinder. Int’l Energy Ventures Mgmt., LLC v. United Energy Grp., Ltd., 818

F.3d 193, 207– 08 (5th Cir. 2016). Rule 12(b)(6) allows dismissal if a plaintiff fails “to

state a claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). The Supreme

Court confirmed that Rule 12(b)(6) must be read in conjunction with Rule 8(a), which

requires “a short and plain statement of the claim showing that the pleader is entitled to

relief.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); Ashcroft v. Iqbal, 556 U.S.

662, 677–78 (2009); FED. R. CIV. P. 8(a)(2).



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       To survive a Rule 12(b)(6) motion, a complaint must contain “enough facts to

state a claim to relief that is plausible on its face.” Twombly, 550 U.S. at 570. “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678. While this pleading standard does not require detailed factual

allegations, “it demands more than an unadorned, the-defendant-unlawfully-harmed-me

accusation.” Id. (citing Twombly, 550 U.S. at 555). “The plausibility standard is not akin

to a ‘probability requirement,’ but it asks for more than a sheer possibility that the

defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). Although the

Court must accept all factual allegations as true, it is not bound to accept as true a legal

conclusion couched as a factual allegation. Id. (citing Twombly, 550 U.S. at 555).

                                      Argument and Authorities

       There is no reasonable basis to believe that Plaintiff could recover from Maverick

in state court on its negligence cause of action because Maverick does not owe Plaintiff a

duty of care.

       Plaintiff asserts only the following cause of action against Maverick in its state

court Petition:

                  E. NEGLIGENCE (AGAINST MAVERICK)

               25. Maverick owed Plaintiff a duty of care with respect to the fuel
       stored at Maverick. Maverick breached its duty by, without limitation:

                  a. Failing to have reasonable policies and procedures in place for the
                     reasonable protection of fuel stored at Maverick’s terminal;
                  b. Failing to reasonably monitor fuel stored at Maverick’s terminal;
                  c. Failing to reasonably vet position holders using Maverick’s
                     terminal;
                  d. Failing to reasonably account for inputs and outputs of fuel stored
                     at Maverick’s terminal;


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                e. Failing to reasonably provide security for the fuel stored at
                   Maverick’s terminal;
                f. Failing to require reasonable documentation before fuel was
                   injected into a particular storage tank; and
                g. Failing to act as a reasonable terminal would have acted under the
                   same or similar circumstances.

               26. Maverick’s breaches proximately caused damage to Plaintiff’s
        property and/or property in which Plaintiff had an interest.

Pl.’s Original Pet., Exhibit A-1 at p. 6.

        Texas substantive law governs Plaintiff’s negligence claim pursuant to this

Court’s diversity jurisdiction. Parham v. Ryder Sys., Inc., 593 F. App’x 258, 260 (5th Cir.

2014). Under Texas law, the three essential elements of a negligence action are: (1) the

existence of a legal duty; (2) a breach of that duty; and (3) damages proximately caused

by that breach. See, e.g., D. Houston, Inc. v. Love, 92 S.W.3d 450, 454 (Tex. 2002).

        Plaintiff’s Petition is devoid of any facts to support its conclusory allegation that

Maverick owes it a legal duty. See Pl.’s Original Pet. at pp. 3-4, 6. Plaintiff merely asserts

that “Maverick owed Plaintiff a duty of care with respect to the fuel stored at Maverick.”

Id. Plaintiff does not plead “enough facts to state a claim to relief that is plausible on its

face.” Twombly, 550 U.S. at 570. Based on Plaintiff’s cursory allegation, neither the

Court nor Defendants can draw a “reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678. Accordingly, “there is no reasonable basis

for the district court to predict that the plaintiff might be able to recover against an in-

state defendant.” Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 573 (5th Cir. 2004)

(en banc).

        Moreover, Plaintiff cannot cure this deficiency by providing additional facts that

show that Plaintiff has a potential right of recovery against Maverick. It is clear that



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Maverick does not owe Plaintiff a legal duty as a matter of law: On October 5, 2020,

Maverick and Vanguard entered into a Terminaling Services Agreement in which

Maverick and Vanguard disclaimed any duties to third parties. October 5, 2020,

Terminaling Services Agreement (Between Maverick and Vanguard), Exhibit B-2 (the

“Lease”), a true and correct copy of which is attached hereto. Article 20.4 of the Lease

states:

          20.4 Successors and Assigns and No Third-Party Beneficiaries. This
          Agreement is for the exclusive benefit of the Parties and no other Person or
          entity will have any right or Claim against any Party under any of the terms
          of it or be entitled to enforce any of the terms and provisions of it against
          any Party.

Id. Thus, Plaintiff cannot show that Maverick owes it any contractual or common law

duty, a prerequisite for its recovery against Maverick on its negligence claim.

      Because Plaintiff has not and, indeed, cannot state a claim that is plausible on its

face against Maverick, it is improperly joined and its citizenship should not be considered

for purposes of determining whether complete diversity exists. See Int’l Energy Ventures

Mgmt., 818 F.3d at 200 (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (U.S.

2007)).

      Ignoring the presence of Maverick, complete diversity exists between Plaintiff a

citizen of New Jersey and Texas) and Defendants Vanguard (a citizen of Delaware and

Florida), and Matthew Klann (a citizen of the State of Florida). See Plaintiff’s Original

Petition, Exhibit A-1 at pp. 1-2. Additionally, the amount in controversy between

Plaintiff and Defendants exceeds, exclusive of interest and costs, the sum of $75,000:

Plaintiff contends in the State Court Suit that it seeks an amount over $1,000,000. Id. at ¶

7; 28 U.S.C. § 1332(a).



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        This Court therefore has subject matter jurisdiction of this case based on diversity

jurisdiction and removal is proper. 28 U.S.C. § 1332. And, all defendants who have been

properly joined and served join in or consent to the removal of this case to federal court.

28 U.S.C. § 1446(b)(2)(A)1; Affidavit of Matthew Klann, Exhibit B-1.

                                             Other Matters

          Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the suit is pending is located in this district. 28 U.S.C. § 124(b)(5) (The U.S.

District Court for the Southern District of Texas, Brownsville Division embraces

Cameron County, Texas).

          Along with filing this Notice of Removal, Defendants will promptly notify

Plaintiff and file a Notification of Removal, attaching a copy of this Notice of Removal,

with the Clerk for the District Court of Cameron County, Texas in accordance with 28

U.S.C. § 1446(d).

          Plaintiff made a jury demand in state court. Pl.’s Original Pet., Exhibit A-1;

Docket Sheet, Exhibit A-2.

          As 28 U.S.C. § 1446(a) and L.R. 81 require, Defendants provide a copy of

Plaintiff’s Original Petition filed in the State Court Suit, any process, and the State Court

docket sheet, which references and any signed orders served in the State Court Suit,

together with an index of matters being filed, and a list of all counsel of record. These

documents are attached as Exhibit A.




1.     28 U.S.C. § 1441(b) does not bar removal. It is well-settled that co-defendants who are not properly
      joined or who have not been served need not join in the removal. See, e.g., Jernigan v. Ashland Oil
      Inc., 989 F.2d 812, 815 (5th Cir. 1993); Getty Oil Corp. Ins. Co. of N. Am., 841 F.2d 1254, 1261 n. 9
      (5th Cir. 1988). Because Defendant Maverick is improperly joined and has not been served, it need not
      consent to removal.

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                                  Conclusion and Prayer

       This case is a civil action brought in a state court, and the federal district courts

have original jurisdiction over the subject matter of this case under 28 U.S.C. § 1332.

Removal is proper because Plaintiff joined Maverick solely to defeat diversity

jurisdiction. Removal of this case is proper under 28 U.S.C. § 1441 and in conformance

with 28 U.S.C. § 1446. For these reasons, Vanguard and Matthew Klann remove this case

from the District Court of Cameron County, Texas, to this Court and pray that this Court

enter such orders and grant such relief as may be necessary to secure such removal.


                                               Respectfully,

                                               Atlas Hall & Rodriguez LLP




                                               By: /s/ E. Michael Rodriguez
                                               E. Michael Rodriguez
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                                               S. D. Tex. No. 18759
                                               Email: mrodriguez@atlashall.com
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                                               Attorneys for Defendants
                                               Vanguard Energy LLC and
                                               Matthew Klann



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                                 Certificate of Service

        I hereby certify that a true and correct copy of Defendants Vanguard Energy

LLC’s Notice of Removal and all accompanying documents required by LR 81 have been

served via certified mail, return receipt requested, on July 7, 2021, upon all counsel of

record as follows:


                               Ernest W. “Butch” Boyd
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                                   Jeremy R. Stone
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                                 Fax:(713) 589-8563

                                  Counsel for Plaintiff


                                             /s/ Paul T. Serafy
                                             Paul T. Serafy
                                             Of Atlas Hall & Rodriguez LLP




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  A
                         U N I T E D S TAT E S D I S T R I C T C O U R T
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

          Global Enterprise Solutions LLC,                          Civil Action No.

                                       Plaintiff;

                       v.

          Vanguard Energy LLC, Maverick
          Terminals Brownsville LLC, and
          Matthew Klann,

                                       Defendants.                    Jury Demand

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             1. Pleadings That Assert Causes of Action and All Answers to Such Pleadings

                Exhibit A-1 Plaintiff's Original Petition

             2. Docket Sheet

                Exhibit A-2     Docket Sheet

             3. List of All Counsel of Record

                Exhibit A-3     List of Parties and Respective Counsel of Record

             4. Other Filings

                Exhibit A-4     Plaintiff’s Notice of Filing of Rule 11 Agreement

                Exhibit A-5     June 11, 2021 Agreement Pursuant to Rule 11 of the Texas Rules
                                of Civil Procedure
             5. Evidence

                Exhibit B-1     Affidavit of Matthew Klann

                Exhibit B-2     October 5, 2020 Terminaling Services Agreement
Exhibit      Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD FILED
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                                                                           11 of 603:04 PM
 A-1                                                                                  2021-DCL-03273 / 53979485
                                                                                      LAURA PEREZ-REYES
                                                                                      Cameron County District Clerk
                                                                                      By Monica Hernandez Deputy Clerk
                                                    2021-DCL-03273
                                           CAUSE NO. ____________

       GLOBAL ENTERPRISE SOLUTIONS                       §         IN THE DISTRICT COURT OF
       LLC                                               §
                                                         §
                                                         §
            Plaintiff,                                   §
                                                         §
       v.                                                §          CAMERON COUNTY, TEXAS
                                                         §
       VANGUARD ENERGY LLC,                              §
       MAVERICK TERMINALS                                §
       BROWNSVILLE, LLC, AND                             §
                                                           Cameron County - 404th District Court
       MATTHEW KLANN                                     §
                                                         §
            Defendants.                                  §   ______________JUDICIAL DISTRICT


                PLAINTIFF’S ORIGINAL PETITION, JURY DEMAND, REQUEST FOR
                   DISCLOSURE AND APPLICATION FOR INJUNCTIVE RELIEF

                    COMES NOW, Global Enterprise Solutions LLC and files its Original Petition,

            Jury Demand, Request for Disclosure, and Application for Injunctive Relief against

            Vanguard Energy LLC, Maverick Terminals Brownsville, LLC and Matthew Klann

            (“Defendants”) and would respectfully show the Court the following:

                                                I.    PARTIES

                    1.     Plaintiff Global Enterprise Solutions LLC (“GES”) is a New Jersey limited

            liability company doing business in Texas.

                    2.     Defendant Vanguard Energy LLC (“Vanguard”) is a Delaware limited

            liability company doing business in Texas and has its principal office in Texas. It may be

            served through its registered agent, Registered Agents, Inc., 5900 Balcones Dr., Suite 100,

            Austin, TX 78731.

                    3.     Defendant Maverick Terminals Brownsville, LLC (“Maverick”) is a

            Delaware limited liability company doing business in and with its principal office in Texas.


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It may be served through its registered agent, C T Corporation System, 1999 Bryan St.,

Suite 900, Dallas, TX 75201.

        4.      Defendant Matthew Klann (“Klann”) is an individual. On information and

belief, Mr. Klann resides in Florida. He committed torts, fraud, and crimes in Texas and

is therefore subject to jurisdiction in Texas. He may be served at his place of business, 999

Ponce De Leon Blvd., Coral Gables, FL 33134.

                                 II.     JURISDICTION

        5.      The Court has jurisdiction over this matter as the damages in controversy

are within the jurisdictional limits of this Court.

        6.      The Court has jurisdiction over Defendants because Defendants’ conduct

and/or the events arising from this lawsuit occurred in Cameron County, Texas.

        7.      Pursuant to Texas Rule of Civil Procedure 47(c)(3), Plaintiff seeks

monetary relief of over $ $1,000,000 and non-monetary relief.

                                       III.    VENUE

        8.      Venue is proper because all or a substantial part of the events or omissions

giving rise to the claim occurred in Cameron County, Texas. Tex. Civ. Prac. & Rem. Code

§ 15.002(a)(1).

        9.      Venue is also proper in Cameron County, Texas because this is where at

least one Defendant committed theft of Plaintiff’s property. TEX. CIV. PRAC. & REM. CODE

§ 134.004.

                                  IV.         DISCOVERY

        10.     In accordance with the Texas Rules of Civil Procedure, discovery in this

case is intended to be conducted under Level 3.


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                                      V.    FACTS

       11.     Plaintiff had an interest in certain fuel products. Plaintiff refers to all fuel

at issue in this lawsuit as “the fuel.” Most of the fuel was moved to Maverick in

Brownsville, Cameron County, Texas.

       12.     The import, export, and movement of fuel products are highly regulated at

the state and federal levels. The following definitions apply to this case:

                   a. Terminal. An IRS-approved motor fuel storage and distribution
                      facility to which a terminal control number has been assigned, to
                      which motor fuel is supplied by pipeline or marine vessel, and from
                      which motor fuel may be removed at a rack. 34 T.A.C.
                      § 3.441(a)(21).

                   b. Position holder. The person who holds the inventory position in
                      motor fuel in a terminal, as reflected on the records of the terminal
                      operator. A person holds the inventory position in motor fuel when
                      that person has a contract with the terminal operator for the use of
                      storage facilities and terminaling services for motor fuel at the
                      terminal. The term includes a terminal operator who owns motor
                      fuel in the terminal. Id. at § 3.441(a)(16).

       13.     Maverick is the terminal where the fuel was transferred. Unbeknownst to

Plaintiff, Vanguard became a position holder when the fuel was transferred into the

Maverick terminal.

       14.     Even though it had no written agreement with Plaintiff, Vanguard sold some

of the fuel that had been transferred into the Maverick terminal. Plaintiff requested a full

accounting for the fuel. Vanguard refused to comply.

       15.     Plaintiff has lost millions of dollars because of Vanguard’s misdeeds.

       16.     At all times relevant to this lawsuit, Klann was a principal of Vanguard.

Klann was the person who took the action necessary to appropriate the fuel, and the person
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who took all actions necessary to sell the fuel when he knew neither he nor Vanguard had

title to the fuel.

                     VI.   AGENCY AND RESPONDEAT SUPERIOR

        17.      A company may only act through its agents. Klann was the Vanguard agent

who committed the wrongful conduct alleged in this Petition. Vanguard is liable for

Klann’s conduct under the theory of respondeat superior. Klann is individually liable for

his own misconduct.

                                VII.    VEIL PIERCING

        18.      Klann used Vanguard to commit fraud and deceive the public. As such, the

business entity is disregarded and Klann is personally liable for Vanguard’s misconduct.

        19.      In the alternative, Vanguard is Klann’s alter-ego.    That is, there is

insufficient “corporate separateness” between Klann and Vanguard. This insufficient

“separateness” is evidenced by Klann’s use of Vanguard to commit theft.




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                              VIII. CAUSES OF ACTION

A.         TEXAS THEFT LIABILITY ACT (AGAINST VANGUARD AND KLANN)

           20.   Vanguard and Klann committed theft of the fuel. That is, Vanguard and

Klann unlawfully appropriated property. TEX. CIV. PRAC. & REM. CODE § 134.002(2).

Vanguard and Klann are therefore liable for the actual damages resulting from the theft as

well as additional damages provided for under Section 134.005(a)(1) of the Texas Civil

Practice & Remedies Code.

B.         UNJUST ENRICHMENT / DISGORGEMENT (AGAINST VANGUARD AND KLANN)

           21.   Vanguard and Klann were unjustly enriched to the extent of the profits made

by them through its theft of the fuel. Plaintiff is entitled to judgment that Vanguard and

Klann be required to disgorge and return those profits to Plaintiff.

C.         CONVERSION (AGAINST VANGUARD AND KLANN)

           22.   Vanguard and Klann wrongfully exercised dominion and control over

Plaintiff’s personal property in a manner inconsistent with Plaintiff’s exclusive right to said

property (the fuel).

           23.   As a direct and proximate result of Vanguard’s and Klann’s conversion,

Vanguard and Klann damaged Plaintiff and have been unjustly enriched in the millions of

dollars.

D.         MONEY HAD AND RECEIVED (AGAINST VANGUARD AND KLANN)

           24.   Vanguard and Klann hold money that in equity and good conscience

belongs to Plaintiff (the profit Vanguard and Klann made from selling stolen fuel).
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E.     NEGLIGENCE (AGAINST MAVERICK)

       25.     Maverick owed Plaintiff a duty of care with respect to the fuel stored at

Maverick. Maverick breached its duty by, without limitation:

                   a. Failing to have reasonable policies and procedures in place for the
                      reasonable protection of fuel stored at Maverick’s terminal;

                   b. Failing to reasonably monitor fuel stored at Maverick’s terminal;

                   c. Failing to reasonably vet position holders using Maverick’s
                      terminal;

                   d. Failing to reasonably account for inputs and outputs of fuel stored
                      at Maverick’s terminal;

                   e. Failing to reasonably provide security for the fuel stored at
                      Maverick’s terminal;

                   f. Failing to require reasonable documentation before fuel was injected
                      into a particular storage tank; and

                   g. Failing to act as a reasonable terminal would have acted under the
                      same or similar circumstances.

       26.     Maverick’s breaches proximately caused damage to Plaintiff’s property

and/or property in which Plaintiff had an interest.

                     IX.    APPLICATION FOR INJUNCTIVE RELIEF

       27.     As detailed in this Petition, Vanguard sold fuel to which it had no title. GES

has interests in additional fuel Vanguard is asserting control over.

       28.     Maverick still has some of the fuel at its terminal.

       29.     Plaintiff will suffer probable harm and irreparable harm unless this Court

grants injunctive relief. Specifically, Vanguard’s willingness to steal is evidenced by the

fact that it has already stolen. Maverick’s conduct evidences a lack of safeguards over the




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fuel. Texas courts routinely grant injunctive relief to prevent an asset from being spent that

would otherwise be available to satisfy a judgment.

       30.     Plaintiff has no adequate remedy at law. Without injunctive relief, the fuel

may be forever lost to Plaintiff.

       31.     Plaintiff therefore asks the Court to issue a Temporary Restraining Order

enjoining Defendants from:

               (a)     Destroying or altering any documents related to the fuel.

               (b)     Moving, disposing of, selling, secreting, or otherwise losing the fuel.

               (c)     Destroying or altering any electronic communications referencing
                       the fuel, XD, or GES.

               (d)     Destroying or altering any paper communications referencing the
                       fuel, XD, or GES.

       32.     Plaintiff asks the Court to issue the Temporary Restraining Order and order

it be continued in force until the date set for hearing on Plaintiff’s request that the

Temporary Restraining Order be converted to a Temporary Injunction.

       33.     Plaintiff asks that on final hearing, the Temporary Injunction be converted

to a Permanent Injunction.

                          X.        CONDITIONS PRECEDENT


       34.     All conditions precedent to bringing the above causes of action have been

met or occurred.
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                         XI.       ALTERNATIVE PLEADINGS


       35.     The foregoing facts and theories are pled cumulatively and alternatively,

with no election or waiver of rights or remedies.

                        XII.       REQUEST FOR DISCLOSURE

       36.     Under the Texas Rules of Civil Procedure 194, Plaintiff hereby requests that

Defendants disclose, within 50 (fifty) days of service of this request, the information or

material described in Texas Rule of Civil Procedure 194.2.

                                   XIII. TRIAL BY JURY

       37.     Plaintiff requests trial by jury and submits appropriate jury fee.

                                         PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that Defendants be

cited to appear and answer, and that the Court provide the following relief:


       (a)     that a temporary restraining order be granted;

       (b)     that a temporary injunction be granted;

       (c)     that after a trial on the merits, a permanent injunction be issued in the scope
               as set forth above;

       (d)     judgment against Defendants for all actual damages sustained by Plaintiff;

       (e)     pre-judgment and post-judgment interest at the maximum rate permitted by
               law;

       (f)     costs and reasonable attorney’s fees;

       (g)     exemplary damages;

       (h)     lost profits; and

       (g)     such other and further relief, at law or in equity, to which Plaintiff may be
               justly entitled.

                                             8
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                                  Respectfully submitted,

                                  BUTCH BOYD LAW FIRM




                                  _____________________________
                                  ERNEST W. “BUTCH” BOYD
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                                  JEREMY R. STONE
                                  State Bar No. 24013577
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                                  Houston, TX 77098
                                  Phone: (713) 589-8477
                                  Fax:(713) 589-8563
                                  ATTORNEYS PLAINTIFF
7/6/2021          Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 20 of 60
                                                       Details                                                         Exhibit
                                                                                                                           A-2


             Case Information

             2021-DCL-03273 | Global Enterprise Solutions, LLC vs. Vanguard Energy, LLC,Matthew Klann,Maverick Terminals
             Brownsville, LLC

             Case Number                              Court                            Judicial Officer
             2021-DCL-03273                           404th District Court             Adobbati, Ricardo M
             File Date                                Case Type                        Case Status
             06/01/2021                               Civil-Other Civil                Pending




             Party

             Plaintiff                                                                 Active Attorneys 
             Global Enterprise Solutions, LLC                                          Lead Attorney
                                                                                       BOYD, ERNEST W
                                                                                       Retained



                                                                                       Attorney
                                                                                       STONE, JEREMY RICHARD
                                                                                       Retained



                                                                                       Attorney
                                                                                       Blanchard, Michael J.
                                                                                       Retained




             Defendant                                                                 Active Attorneys 
             Vanguard Energy, LLC                                                      Lead Attorney
             Address                                                                   RODRIGUEZ, EDWARD
             Registered Agents, Inc                                                    MICHAEL
             5900 Balcones Dr. Suite 100                                               Retained
             Austin TX 78731

                                                                                       Attorney
                                                                                       RODRIGUEZ, EDUARDO R.
https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                                            1/5
7/6/2021          Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 21 of 60
                                                       Details
                                                                                                Retained




             Defendant
             Klann, Matthew

             Address
             999 Ponce De Leon Blvd
             Coral Gables FL 33134




             Defendant
             Maverick Terminals Brownsville, LLC

             Address
             CT Corporation System
             1999 Bryan St. Suite 900
             Dallas TX 75201




             Events and Hearings


                06/01/2021 Original Petition (OCA) 


                   Comment
                   Plaintiff's Original Petition, Jury Demand, Request for Disclosure and Application for Injunctive Relief


                06/01/2021 Efiled Original Petition Document 


                   Comment
                   Plaintiff's Original Petition, Jury Demand, Request for Disclosure and Application for Injunctive Relief


                06/01/2021 Verification 


                   Comment
                   Verification for Plaintiff's Original Petition, Jury Demand, and Request For Disclosure and Application
                   for Injunctive Relief


                06/01/2021 Cover Letter - Request 




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                                             2/5
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                                                       Details

                   Comment
                   Cover Letter Request


                06/02/2021 Jury Fee Paid (OCA)


                06/02/2021 Citation Issued


                06/02/2021 Citation Issued


                06/02/2021 Citation Issued


                06/02/2021 Clerks Journal 


                   Comment
                   Sent citations to Attorney via email as was requested (leraekarn@butchboydlawfirm.com;
                   mikeblanchard@butchboydlawfirm.com)-M.H.


                06/02/2021 Request 


                   Comment
                   Letter requesting preparation of precepts


                06/02/2021 Citation 


                Unserved

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person


                06/02/2021 Citation 


                Unserved

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person


                06/02/2021 Citation 


                Unserved

                Anticipated Server
                Civil Process Server

                Anticipated Method
                In Person


                06/03/2021 Cover Letter - Request 




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                           3/5
7/6/2021          Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 23 of 60
                                                       Details
                   Comment
                   Request For Issuance Of Citation And Precept


                06/03/2021 E-Filed Order 


                Proposed Ex Parte Temporary Restraining Order and Order Setting Hearing (Q)

                   Comment
                   Ex Parte Temporary Restraining Order And Order Setting Hearing For Temporary Injunctive Relief


                06/09/2021 Notice of Appearance 


                   Comment
                   Notice of Appearance


                06/14/2021 Motion Set 


                Judicial Officer
                Adobbati, Ricardo M

                Hearing Time
                8:30 AM

                Result
                Passed

                Comment
                EX PARTE TRO


                06/14/2021 Journal Entry 


                   Comment
                   All interested parties appeared and announced they reached an agreement and will submit a Rule 11
                   Agreement. Hearing passed. RMA/og


                06/14/2021 Rule 11 Agreement 


                   Comment
                   Plaintiff's Notice Of Filing Of Rule 11 Agreement




             Financial

             Global Enterprise Solutions, LLC
                    Total Financial Assessment                                                                      $441.50

https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                                             4/5
7/6/2021          Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 24 of 60
                                                       Details

                    Total Payments and Credits                                                               $441.50


              6/2/2021      Transaction                                                                     $384.50
                            Assessment

              6/2/2021      E-File Electronic            Receipt # 2021-    Global Enterprise Solutions,   ($384.50)
                            Payment                      10369              LLC

              6/3/2021      Transaction                                                                      $57.00
                            Assessment

              6/3/2021      E-File Electronic            Receipt # 2021-    Global Enterprise Solutions,    ($57.00)
                            Payment                      10528              LLC




             Documents


                Proposed Ex Parte Temporary Restraining Order and Order Setting Hearing (Q)




https://portal.co.cameron.tx.us/PortalProd/Home/WorkspaceMode?p=0                                                      5/5
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                     U N I T E D S TAT E S D I S T R I C T C O U R T
                                                                             A-3
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            BROWNSVILLE DIVISION

Global Enterprise Solutions LLC,                         Civil Action No.

                            Plaintiff;

             v.

Vanguard Energy LLC, Maverick
Terminals Brownsville LLC, and
Matthew Klann,

                            Defendants.                   Jury Demand

                             List of Counsel of Record


   1. Attorneys for Plaintiff
      Global Enterprise Solutions, LLC

Ernes W. “Butch” Boyd
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   2. Attorneys for Defendants
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      Matthew Klann

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                                           —1–
    Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 26 of 60

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Atlas Hall & Rodriguez LLP
222 N. Expressway, Suite 203
Brownsville, TX 78520




                                     –2–
Exhibit        Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 27 of 60

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                                               CAUSE NO. 2021-DCL-03273

          GLOBAL ENTERPRISE SOLUTIONS                         §              IN THE DISTRICT COURT OF
          LLC                                                 §
                                                              §
                                                              §
               Plaintiff,                                     §
                                                              §
          v.                                                  §               CAMERON COUNTY, TEXAS
                                                              §
          VANGUARD ENERGY LLC,                                §
          MAVERICK TERMINALS                                  §
          BROWNSVILLE, LLC, AND                               §
          MATTHEW KLANN                                       §
                                                              §
               Defendants.                                    §                  404th JUDICIAL DISTRICT


                       PLAINTIFF’S NOTICE OF FILING OF RULE 11 AGREEMENT

                            Plaintiff files the Rule 11 Agreement attached hereto as Exhibit A.

                                                          Respectfully submitted,

                                                          BUTCH BOYD LAW FIRM




                                                          ERNEST W. “BUTCH” BOYD
                                                          State Bar No. 00783694
                                                          butchboyd@butchboydlawfirm.com
                                                          JEREMY R. STONE
                                                          State Bar No. 24013577
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                                                          MICHAEL J. BLANCHARD
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                                                          Fax:(713) 589-8563
                                                             1
     Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 28 of 60




                                CERTIFICATE OF SERVICE


         I hereby certified that a true and correct of the above and foregoing has been forwarded
to all counsel of record in accordance with T.R.C.P. by method indicated below on this 14th day
of June, 2021.


      Via Email: mrodriguez@atlashall.com
      E. Michael Rodriguez
      Atlas, Hall &
      Rodriguez, LLP
      Eduardo Roberto
      Rodriguez 222 N.
      Expressway, Suite 203
      Brownsville, Texas 78520




                                             MICHAEL J. BLANCHARD




                                                2
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                                                                                                  Exhibit
                                                                                                       A-5




                                            June 11, 2021

Via Email: mrodriguez@atlashall.com
E. Michael Rodriguez
Atlas, Hall & Rodriguez, LLP
Eduardo Roberto Rodriguez
222 N. Expressway, Suite 203
Brownsville, Texas 78520

       RE:     Cause No. 2021-DCL-03273; Global Enterprise Solutions, LLC v. Vanguard Energy,
               LLC, et al. In the 404th Judicial District Court of Cameron County, Texas

Dear Mr. Rodriguez,

       Please let this letter serve as an agreement under Texas Rule of Civil Procedure 11 as to the
following:

               1. Vanguard represents that all Ultra Low Sulphur Diesel (ULSD) NOM 16 Mexico
                  Spec discharged into Vanguard’s Tank at Maverick's Terminal from GES’s
                  designated barges (the “Fuel”) has all been sold or transferred out of Maverick
                  Terminals in Brownsville.

               2. The Parties agree to preserve all documents, communications, and electronically
                  stored information related to this litigation, including but not limited to the
                  following:

                      a. Documents that show quantities, dates of injection, amounts injected, dates
                         of extraction, amounts of extraction of Fuel stored at Maverick Terminal
                         located in Brownsville, TX for which Vanguard Energy LLC, XD Ventures,
                         LLC, Global Enterprise Solutions LLC, and was a position holder.

                      b. Any and all bills of lading, shipping records, or other documents reflecting
                         Fuel maintained or obtained in regards to GES discharges between March
                         and May 2021 related at Maverick Terminal located in Brownsville, TX, in
                         which Vanguard Energy LLC, XD Ventures, LLC, Global Enterprise
                         Solutions LLC, and/or was a position holder.

                      c. All documents that show or reflect sale or transfer of the “Fuel.”
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Vanguard will informally provide the inventory report from March 10, 2021, the date of the first
load until May 28, 2021, when the fuel ended.Should the terms set forth above be agreeable,
please sign and return to show your client’sacceptance in accordance with Texas Rule of Civil
Procedure 11.

                                                     Sincerely,




                                                     Michael J. Blanchard
 MJB/lk:ssm
 Agreed:


/s/ E. Michael Rodriguez
 E. Michael Rodriguez
 Atlas, Hall & Rodriguez, LLP
 Eduardo Roberto Rodriguez
 222 N. Expressway, Suite 203
 Brownsville, Texas 78520
 Counsel for Vanguard Energy, LLC
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Exhibit   Case 1:21-cv-00099 Document 1 Filed on 07/07/21 in TXSD Page 32 of 60

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